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                    UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF TEXAS
                         BEAUMONT DIVISION



  Bruce Cohn,


                Plaintiff,                            1:24-cv-00337
                                            Case No. ___________________


        v.


  Anna Popescu, TrustHFTwallet.com,         Verified Complaint
  and John Does 1 – 20,


                Defendants.



       Plaintiff Bruce Cohn hereby sues Anna Popescu, TrustHFTwallet.com,

 and John Does 1 – 20 (collectively, the “Defendants”). In support, he alleges

 as follows.

       I.      Preliminary Statement

       1.      Our country is in the midst of a crypto-fraud crisis. Foreign

 criminal organizations have stolen billions of dollars from hardworking

 Americans in what are known as “pig-butchering” scams—and are continuing

 to do so even as we speak.

       2.      Pig-butchering scams vary in their particulars, but in outline

 they are all the same. The scammers begin by initiating contact with and

 building trust with the victim, using diabolical psychological techniques to

 lower their target’s defenses. They then convince the victim to “invest” using

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 a realistic-looking online cryptocurrency-trading platform. The victim

 deposits money and, over time, profits appear to grow. But, when the victim

 tries to withdraw, various issues emerge. The scammers demand more money

 in ‘taxes’ or ‘fees’ to ‘unlock’ the victim’s account. Desperate for their money

 back, victims often comply. When it finally becomes clear that the whole

 enterprise is a sham, it is too late. The scammers disappear with victim’s

 money, and cut off contact.

       3.     Tens of thousands of hardworking Americans have lost their life

 savings to these scams. Recent literature indicates that pig-butchering

 organizations have stolen more than $75 billion from victims worldwide since

 2020. In the United States alone, victims reported losses of $2.6 billion to pig

 butchering and other crypto scams in 2022—more than double the amount

 reported the previous year.

       4.     This is an action by a victim of one such scam, Mr. Bruce Cohn.

 The Defendants tricked Mr. Cohn into investing on a platform that turned

 out to be a scam, and in so doing stole more than $2.4 million of his savings.

 Mr. Cohn has now been “slaughtered,” in the scammers’ parlance, and his

 money spirited away to foreign bank accounts and crypto wallets.

       5.     This action and coordination with law enforcement are Mr.

 Cohn’s only hopes for recovery. In this suit, he seeks the return of the assets

 stolen from him and additional damages and equitable relief described below.




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        II.      Parties

        6.       Plaintiff Bruce Cohn is an individual. He is a resident of

 Encinitas, California.

        7.       TrustHFTwallet.com is a fraudulent cryptocurrency-investment

 platform. Its headquarters and situs of organization (if any), are presently

 unknown.

        8.       Anna Popescu is an individual who claims to be a citizen of

 Romania. Her present whereabouts are unknown.

        9.       Defendants John Doe 1 – 20 are as-yet unidentified individuals,

 business entities, and/or unincorporated associations. These persons are

 TrustHFTwallet’s and Popescu’s co-conspirators.

        III.     Jurisdiction & Venue

        10.      This is an action under the Racketeer Influenced and Corrupt

 Organizations Act (“RICO”). Accordingly, this Court has federal-question

 jurisdiction.

        11.      Each of the Defendants are subject to the personal jurisdiction

 of this Court because they direct business activities towards and conduct

 business with consumers throughout the United States, including within the

 State of Texas and this district through at least one fraudulent website and

 mobile application accessible from Texas. Alternatively, the Defendants are

 subject to personal jurisdiction in this district because (i) they are not subject

 to jurisdiction in any state’s court of general jurisdiction and (ii) exercising

 jurisdiction is consistent with the United States Constitution and laws.

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        12.    Venue is proper in this district pursuant to 28 U.S.C. §

 1391(c)(3), which provides that a foreign defendant may be sued in any

 judicial district.

        IV.    Allegations

        13.    In June 2024, Bruce Cohn met a person claiming to be named

 Anna Popescu on a dating website. The two struck up a connection and began

 messaging regularly.

        14.    Popescu eventually told Mr. Cohn about her success investing

 and trading cryptocurrencies and introduced him to a platform called

 TrustHFTwallet. Popescu told Mr. Cohn that she knew how to make profits

 using TrustHFTwallet, and offered to teach him how to do the same. She

 encouraged Mr. Cohn to make a TrustHFTwallet account, which he soon did.

        15.    Over the next several months, Popescu ‘trained’ Mr. Cohn in

 cryptocurrency trading using the TrustHFTwallet platform. When Mr. Cohn

 was ready to make a deposit on TrustHFTwallet, the platform provided him

 asset-transfer instructions via the platform’s customer-service chat or on its

 “deposit” page. Mr. Cohn completed the transactions as instructed. Each time,

 the amount of the funds he ‘deposited’ would then be reflected in his

 transaction history and account balance on the TrustHFTwallet platform.

 Over time, he sent assets to TrustHFTwallet with a dollar-denomiated value

 of more than $2,400,000.00.

        16.    Mr. Cohn’s balance on the TrustHFTwallet platform appeared

 to grow rapidly—eventually showing that he had crypto assets worth more
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 than $4.5 million in his account. But when he attempted to withdraw his

 funds, TrustHFTwallet informed him that him that he could do so in

 significant quantities without ‘leveling up’ his account by depositing more

 money. Mr. Cohn soon realized that he had been scammed.

       17.    The TrustHFTwallet platform was never a “trading platform” of

 any sort. It was a simulacrum of a trading platform where no actual trading

 or investment ever occurred. The account balances, the purported profits, and

 the transaction history displayed were real only in the sense that they

 reflected the monies Mr. Cohn sent to the Defendants. And this was simply

 to ensure that the platform appeared to be functioning. The assets Mr. Cohn

 transferred to the Defendants were never ‘deposited’ on TrustHFTwallet.

 They were never used for cryptocurrency trading. They were simply stolen.

       18.    Mr. Cohn was not the only victim of the TrustHFTwallet scam.

 At least dozens of other persons were scammed by the Defendants in a period

 extending over one year.

       V.     Causes of Action

       19.    Mr. Cohn brings the following causes of action against the

 Defendants. The allegations set out above are incorporated into each of the

 causes of action that follow as if fully restated therein.




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                         Count One
        Racketeering in Violation of 18 U.S.C. § 1962(c)
                   Against All Defendants

       20.    Anna Popescu, TrustHFTwallet.com, and John Does 1 – 20

 (collectively, the “Defendants”) constituted an “enterprise” within the

 meaning of 18 U.S.C. §§ 1961(4) and 1962(c), in that they are a group of

 individuals and legal entities associated in fact. Their enterprise is referred

 to herein as the “HFTwallet Enterprise.”

       21.    The HFTwallet Enterprise engaged in numerous acts of wire

 fraud in violation of 18 U.S.C. § 1343, as described in paragraphs 11 – 19,

 supra. They did so using the TrustHFTwallet.com website and mobile app,

 WhatsApp, emails, and other forms of digital communication with Mr. Cohn

 and others. Mr. Cohn relied on the Defendants’ fraudulent statements to his

 detriment.

       22.    The Defendants shared the common purpose of defrauding and

 stealing from Mr. Cohn and other victims and thereby converting and

 exercising dominion over their assets.

       23.    The Defendants are each a “person” within the meaning of 18

 U.S.C. §§ 1961(3) & 1962(c). Each of them individually conducted,

 participated in, engaged in, and operated and managed the affairs of the

 TrustHFTwallet Enterprise through a pattern of racketeering activity within

 the meaning of 18 U.S.C. §§ 1961(1), 1961(5) & 1962(c). Said pattern of




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 racketeering activity consisted of, but was not limited to, the acts of wire

 fraud described above.

       24.    All the acts of racketeering activity described above were related

 so as to establish a pattern of racketeering activity within the meaning of 18

 U.S.C. § 1962(c). The Defendants’ common purpose was to defraud Mr. Cohn

 and other victims and convert and exercise dominion and control over those

 victims’ assets. Each Defendant, directly or indirectly, participated in all of

 the acts and employed the same or similar methods of commission.

       25.    The HFTwallet Enterprise was of sufficient longevity for its

 members to carry out their purposes on a large scale. All of the acts of

 racketeering described above, were continuous so as to form a pattern of

 racketeering activity in that the Defendants have engaged in the predicate

 acts for a substantial period of time exceeding one year. The HFTwallet

 Enterprise successfully defrauded at least dozens of persons and converted

 millions of dollars worth of its victims’ assets, including Mr. Cohn’s. To the

 extent the HFTWallet Enterprise’s activities have ceased or cease while this

 litigation is pending, these acts posed threat of indefinite duration at the time

 they were committed and will have stopped only because they were

 fortuitously interrupted by events beyond the Defendants’ control.

       26.    As a direct and proximate result of, and by reason of, the

 activities of the Defendants and their conduct in violation of 18 U.S.C. §

 1962(c), Mr. Cohn was injured in his business and property within the



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 meaning of 18 U.S.C. § 1964(c). The Defendants stole Mr. Cohn’s savings and

 thereby caused him to suffer deprivations and extreme mental and emotional

 distress. He is, therefore, entitled to recover threefold the damages sustained

 together with the cost of the suit, including costs, reasonable attorneys’ fees

 and reasonable experts’ fees.

                                Count II
                              Conversion
                         Against All Defendants

       27.    As more fully alleged above, the Defendants misappropriated

 Mr. Cohn’s assets.

       28.    The Defendants converted Mr. Cohn’s assets to their own use or

 the use of others not entitled to them. They have exercised dominion and

 control over those assets to Mr. Cohn’s exclusion and detriment.

       29.    Mr. Cohn has suffered damages as a direct and proximate result

 of Defendants’ conversion.

                               Count III
                                 Fraud
                         Against All Defendants

       30.    To prevail on a fraud claim, a plaintiff must show that the

 defendant made (1) a false representation, (2) of a matter of material fact, (3)

 with knowledge of its falsity, (4) for the purpose of inducing action thereon,

 and (5) that the plaintiff relied upon the representation as true and acted

 upon it to his or her damage.




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       31.    As alleged above, the Defendants made numerous false

 representations to Mr. Cohn, including that theirs was a legitimate trading

 platform through which Mr. Cohn might make a return on his assets. They

 did so with knowledge of the falsity of these statements and with actual intent

 to induce Mr. Cohn to rely on their statements to his detriment, which he did.

       VI.    Relief Sought

       32.    Mr. Cohn requests that judgment be entered against each of the

 Defendants on each of the causes of action set out above. He seeks relief as

 follows:

                a. Imposition of a constructive trust over his stolen assets and

                   return of those assets to his possession;

                b. Monetary damages;

                c. Statutory trebled damages pursuant to 18 U.S.C. § 1964(c);

                d. Punitive damages;

                e. Costs, including reasonable attorneys’ fees under 18 U.S.C.

                   § 1964(c);

                f. Pre- and post-judgment interest;

                g. Injunctive and equitable relief insofar as required to

                   preserve assets for recovery, halt the Defendants’ unlawful

                   acts, and otherwise enable the exercise of the Court’s

                   powers and effecutate its orders;

                h. Other relief as the Court deems just and proper.



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   Dated: August 5, 2024                    Respectfully submitted,

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                             VERIFICATION

        I, Bruce Cohn, declare as follows.

        I am the plaintiff in the present case. I have personal knowledge

  of the factual allegations set out above. I verify under penalty of perjury

  that the factual statements concerning myself and my activities are

  true and correct.




                                              __________________________
                                              Bruce Cohn


                                              August 4, 2024




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